                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHER DISTRICT OF ILLINOIS
                            EASTERN DIVISION


ANGEL BAKOV and JULIE
HERRERA, Individually and on
Behalf of all others
Similarly situated,

                    Plaintiffs,
                                               Case No. 15 C 2980
           v.

CONSOLIDATED TRAVEL HOLDINGS              Judge Harry D. Leinenweber
GROUP, INC., a Florida
Corporation; CONSOLIDATED
WORLD TRAVEL, INC, d/b/a
HOLIDAY CRUISE LINE, a
Florida Corporation; JAMES H.
VERRILLO, an Individual;
DANIEL E. LAMBERT, an
Individual; JENNIFER
POOLE, an Individual; and
DONNA HIGGNS, an Individual,

                    Defendants.


                     MEMORANDUM OPINION AND ORDER

                            I.    BACKGROUND

     Plaintiffs     Angel   Bakov       (“Bakov”)    and    Julie     Herrera

(“Herrera”)     (collectively,    the    “Plaintiffs”)      filed   separate

class action complaints seeking injunctive relief and damages

against   Consolidated   World    Travel,   Inc.    d/b/a   Holiday    Cruise

Line (“HCL”) pursuant to the Telephone Consumer, Inc. Act, 42

U.S.C.§ 227, et seq. (the “TCPA”) and seeking relief under the

Illinois Automatic Telephone Dialers Act, 815 ILCS305/1, et seq.
(the “ATDA”).         The two cases were deemed related, and by Order

of the Court on September 17, 2015, a Consolidated Complaint was

filed,     which     named    additional       Defendants      Consolidated          Travel

Group Holdings (“CTH”) and James H. Verrillo, Donna Higgins,

Daniel      Lambert,          and      Jennifer       Poole        (the       “Individual

Defendants”).         The Individual Defendants and CTH have moved to

dismiss for lack of jurisdiction pursuant to Rule 12(b)(2).                             All

Defendants have moved to dismiss for failure to state a claim

pursuant to Rule 12 (b)(6).

                                     II.    DISCUSSION

           A.   The Individual Defendants’ Jurisdiction Motion

      Because the TCPA does not authorize nationwide service of

process, the court must look to Illinois law for the limitation

on   the    exercise     of    personal       jurisdiction.           Its     “long   arm”

statute     (735     ILCS    5/2-209(C))       authorizes      courts       to     exercise

jurisdiction to the fullest extent allowed by the Illinois and

federal constitutions.               Hyatt International Corp. v. Coco, 302

F.3d 707. 713 (7th Cir. 2002).                  Jurisdiction can be general or

specific.        General      jurisdiction          exists    only    when     a   party’s

affiliation with a state is “constant and pervasive” and there

is jurisdiction even if the specific action is unrelated to the

contacts with the state.                   Nicholson v. E-Telequote Insurance,

Inc.,    205    WL   5950659        (N.E.   Ill.,    Oct.    13,     2015).        Specific

jurisdiction on the other hand must arise out of or is related

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to    a    defendant’s          contacts         with    the    forum.         Id.      Specific

jurisdiction exists where a defendant has purposefully directed

its activities at the forum state or purposefully availed itself

of the privilege of conducting business in that state and the

alleged        injury     arises       out       of    the    defendants’       forum   related

activities.         N. Grain Marketing,, LLC v. Greving, 743 F.3d 487,

492       (7th    Cir.        2015).         A    plaintiff       bears        the   burden     of

establishing personal jurisdiction when a defendant challenges

it. Id.          A plaintiff, however, need only make out a prima facie

case      to     establish       personal         jurisdiction       and     the     court    must

accept well pleaded facts as true.                            However, where a defendant

challenges a fact alleged in the complaint by declaration, the

plaintiff         has    an    obligation         to     go    beyond    the    pleadings      and

produce          affirmative       evidence             supporting       the       exercise     of

jurisdiction.            United Airlines v. Zaman, 2015 WL 2011720 (N.D.

Ill., April 30, 2015).

          In this case, Plaintiffs have alleged in their Complaint in

support of specific jurisdiction that the Individual Defendants

participated in a marketing campaign resulting in unsolicited

robotic telephone calls to Plaintiffs on their cell phones in

violation of the TCPA and the ATDA.                            They contend that each of

the       Individual          Defendants          participated          by     overseeing      the

operations of HCL’s representatives and approving the use of

third parties to make the calls to generate leads for HCL’s

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cruise line business.                   The Individual Defendants countered the

allegations         in     the    Complaint        by    filing     in    support          of   their

Motion to Dismiss their affidavits averring to a long list of

“nevers”       which       stated    clearly           that   none       of    the     Individual

Defendants ever had anything to do with the State of Illinois in

any    way,     shape       or     form    and      specifically          did       not    transact

business or commit a tortious act in Illinois; and did not make

or    cause    to     be    made    the        alleged    illegal     telephone            calls    in

violation of the TCPA and/or in violation of the ATDA.

       Plaintiffs attempt to counter these affidavits by filing in

support of its Opposition Brief, the deposition transcripts of

three of the Defendants (Jennifer Poole, Daniel Lambert, and

Donna    Higgins)          taken    in     a    case     arising     out       of    the    Eastern

District of New York entitled Brian Jackson v. Caribbean Cruise

Line, Inc., et al., CV 14 2485.                           That case involved alleged

violations       of      the     TCPA     by     Caribbean        Cruise       Line,       Inc.,    a

predecessor corporation to HCL, by sending or directing to be

sent    on     its       behalf     text       messages       without         approval      of     the

recipient.           The sum and substance of the deposition testimony

in that case is that none of the deponents admitted to violating

the law and testified that, if any unsolicited faxes were sent

to the plaintiff, it was without authority or approval of HCL.

There    are     the       obvious       distinctions          between         the    two       cases,

Jackson       involved         unsolicited         faxes      and    this       case        involves

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unsolicited          robotic      phone      calls,      and    the     two    cases      involve

different cruise lines.                 However, there are close similarities

between      these       two    cases     and    Flexicorps,          Inc.    v.    Benjamin       &

Williams Debt Collectors, Inc., 2007 WL 1560212 (N.D. Ill., May

29, 2007).          In Flexicorps, the court pointed out that it was not

enough just to show a violation of the TCPA, but there must be,

in     addition,         some     evidence        that    a      non-resident         defendant

personally directed or participated in the violation in order to

establish specific jurisdiction.                        It should also be noted that

none of the Individual Defendants whose depositions were filed

here were defendants in the Jackson case (at least at the time

of   their     depositions),         but      only      the    cruise    line       and    the   ad

agency       who    sent    the    faxes.         Since        the    Plaintiffs         have    not

countered          the   affidavit      evidence         produced       by    the    Individual

Defendants, they have not sustained their burden to demonstrate

jurisdiction, their Motions to Dismiss for lack of jurisdiction

are granted.

                   B.    The Jurisdiction Motion of Consolidated
                             Travel Holdings Group, Inc.

       The Defendant CTH also filed a Motion to Dismiss based on

lack    of    jurisdiction.             As    Plaintiffs         themselves         state:        to

establish          “personal      jurisdiction          over    a    non-resident         holding

company,       the       determinative        question         is    whether       the    holding

corporation is simply attempting to shield itself from lawsuits


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by   conducting    its    own       business       through    the   legal    fiction         of

‘separate’      subsidiaries          and     distribution          networks.”           The

Complaint alleges that HCL is a “mere instrumentality or alter

ego of CTH” and that there is a lack of “corporate formality”

between the two corporations.                 To counter these allegations CTH

filed the affidavit of Daniel Lambert, one of CTH’s directors.

He averred that CTH is incorporated under the laws of Florida

and maintains its principal and sole office in Fort Lauderdale,

Florida;   that    it     is    a    holding        company    of    which    HCL       is    a

subsidiary;     that     it    maintains       a    separate    corporate         existence

from HCL; HCL and CTH have separate books and records; CTH does

not exert control over HCL’s daily affairs; CTH does not provide

supplies   to     HCL;    and       CTH     does    not   engage      in    any    of    the

activities engaged in by HCL.                 He further averred that CTH has

never transacted any business in the State of Illinois and has

not performed any act that had any consequences Illinois.                                    He

then, on behalf of CTH, specifically denied that CTH performed

any of the acts complained of by Plaintiffs in their Complaint.

In response, Plaintiffs argue merely that HCL is the alter ego

of CTH, citing Old Orchard Urban Ltd. v. Harry Rosen, Inc., 389

Ill. App. 3d 58, 68 (1st Dist. 2009).

      In Illinois when making a determination of whether there is

such a unity of interest so that piercing the corporate veil in

order to impose jurisdiction over a parent, there must be some

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showing of fraud or injustice in the event the corporate veil is

not    pierced.      Here    the        Plaintiffs     have       not    shown       any   such

evidence.      There is no evidence before the Court, for example,

that    HCL   is   insolvent       or    that    it    is    in    any    way    unable       to

litigate the case with the Plaintiffs.                      Further, Plaintiffs have

produced no evidence to counter facts set forth in the affidavit

concerning the separate corporate existence.                        In short, there is

nothing before the Court other than unsubstantiated allegations

that HCL is the alter ego of CTH.                     This is insufficient.                Id.,

Old Orchard Ltd. V. Harry Rosen, Inc.                       Accordingly, the Motion

to Dismiss for lack of jurisdiction is granted.

         C.   The Motion to Dismiss Pursuant to Rule 12(B)(6)

       All Defendants, including HCL, have moved to dismiss both

the TCPA and the ATDA counts for failure to state a cause of

action under each statute.                Since the Court has dismissed the

Individual     Defendants       and      CTH    for   lack    of    jurisdiction,            the

Motion is moot as to those Defendants and is dismissed as such.

Since   HCL   did   not     move    to    dismiss      on    the    basis       of    lack    of

jurisdiction, the Motion is ripe for decision relating to that

Defendant.          As    HCL      states,       “[t]o       satisfy       the       pleading

requirements of FED. R. CIV. P. 8(a), a complaint must contain

sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its fact.”                       Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007).

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                                     1.   The TCPA

       HCL argues that to establish a claim under the TCPA, a

plaintiff must allege:              (1) that a call was made; (2) using an

ATDS or artificial or prerecorded voice; (3) the number called

was assigned to cellular telephone service; and (4) the call was

not made with the prior express consent of the recipient.                             It

then   argues    that    the    Plaintiffs        failed    to   allege     sufficient

facts to state such a claim.                 HCL’s reasoning is that Bakov

received three calls on his cell phone but only answered one of

them and that Herrera received a garbled call which she returned

the next day, via the telephone number left by the caller.                           HCL

argues that she cannot therefore identify the equipment used to

make   the    call.      HCL    also      takes    issue     with    what    level    of

authority Plaintiffs are relying on in asserting liability to

HCL.

       In    response,    the       Plaintiffs      argue     that    under     notice

pleading what they have alleged is sufficient to state a claim

under the TCPA.         With respect to Bakov, one call is sufficient

to state a claim under the TCPA, and it is not necessary to a

violation of the Act that the call had to be answered.                        Toney v.

Quality Resources, Inc., 75 F.Supp.3d 727 (N.E. Ill. Dec. 1,

2014).      With respect to Herrera, all that must be pled is that

facts that “give context to [her] belief that defendant used

prohibited      equipment      as    part    of    its     advertising      campaign.”

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Salem v. Lifewatch, Inc., 2014 WL 496094, (N.D, Ill., Sept. 22,

2014).         The Court finds that the Plaintiffs have the better

argument.       All that is necessary at the pleading stage is to

allege sufficient facts to alert the defendant of what the claim

consists and that the claim has the appearance of plausibility.

Plaintiffs certainly have done that.                 They allege they received

unsolicited       phone      calls    on     their    cell    phones     that    were

prerecorded.       That is all that is necessary.                 They, of course,

must come forward with sufficient facts at the summary judgment

stage    to    fill    out   their    claims,       but   that    will   come   after

discovery.       With respect to authority, the Complaint clearly

alleges that HCL authorized the offending telephone calls and

that    they    were    made   for     its    benefit.       Chapman     v.   Wagener

Equities, Inc., 2014 WL 540250 (N.D. Ill., Feb. 11, 2014).                        The

Motion to Dismiss the TCPA count is denied.

                               2.     The ATDA Claim

       HCL makes the same arguments in seeking to have the ATDA

claim dismissed that it made in seeking to dismiss the TCPA

claim.     For the same reasons, the Court is denying the Motion.

Accordingly, the Motion to Dismiss the ATDA count is denied.

                                III.       CONCLUSION

        For the reasons stated herein, the Motions to Dismiss the

Individual      Defendants      and    CTH    for    lack    of   jurisdiction    are



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granted.   The Motion to Dismiss the TCPA claim and the ATDA

claim is denied.

IT IS SO ORDERED.




                                Harry D. Leinenweber, Judge
                                United States District Court

Dated: August 4, 2016




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